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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

LEANORA HALL,

       Plaintiff,

               v.                                     CASE NO. 3:11-cv-00112-TJC-TEM


HUNTER WARFIELD, INC.,

      Defendant.
_____________________________________/

                                    NOTICE OF SETTLEMENT

       NOW COMES the Plaintiff, LEANORA HALL, by and through the undersigned counsel

and hereby informs the court that a settlement of the present matter has been reached and is in

the process of finalizing settlement, which Plaintiff anticipates will be finalized within the next

30 days.


       Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.


DATED: April 11, 2011                                 RESPECTFULLY SUBMITTED,

                                                      By: /s/ James Pacitti
                                                      James Pacitti (FBN: 119768)
                                                      Krohn & Moss, Ltd
                                                      10474 Santa Monica Blvd, Suite 401
                                                      Los Angeles, CA 90025
                                                      (323) 988-2400 x 230
                                                      (866) 802-0021 (fax)
                                                      jpacitti@consumerlawcenter.com
                                                      Attorney for Plaintiff




                                   NOTICE OF SETTLEMENT                                               1
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                               CERTIFICATE OF SERVICE

       I, James Pacitti, certify that a true and correct copy of the foregoing was served
electronically via CM/ECF upon all counsel of record including the following:

Warren E. Stoller
Hunter Warfield
4620 Woodland Corporate Boulevard
Tampa, FL 33614
wstoller@huntwar.com

DATED: April 11, 2011                     By:/s/ James Pacitti
                                                  James Pacitti
                                                  Attorney for Plaintiff




                               NOTICE OF SETTLEMENT                                    2
